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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                  7     SCOTT ROSE, et al.,
                                                                                         Case No. 09-cv-05966-PJH
                                  8                   Plaintiffs,

                                  9             v.                                       ORDER GRANTING REQUEST TO
                                                                                         STAY PROCEDDINGS
                                  10    STEPHENS INSTITUTE,
                                  11                  Defendant.

                                  12
Northern District of California
 United States District Court




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                                  15          On May 23, 2016, via letter, counsel for the defendant Academy of Art University
                                  16   requested to stay proceedings in this case “pending the U.S. Supreme Court’s decision in
                                  17   Universal Health Services v. United States ex rel. Escobar, 780 F.3d 504 (1st Cir. 2015),
                                  18   cert. granted, No. 15-7 (U.S. July 1, 2015).”
                                  19          The court’s May 4, 2016 order held that the plaintiff relators’ claims were limited to
                                  20   an “implied false certification theory.” Dkt 179, p.12. The Supreme Court granted
                                  21   certiorari in Escobar to decide whether the “‘implied certification’ theory of legal falsity
                                  22   under the FCA . . . is viable.” Petition for Writ of Certiorari, Escobar (No. 15-7). A
                                  23   decision in Escobar is expected this month, and could potentially greatly impact the
                                  24   remaining claims in this case.
                                  25          No objection or other response has been submitted by plaintiffs.
                                  26          Accordingly, good cause appearing, the court orders that the case is STAYED until
                                  27   the Supreme Court issues its decision in Escobar. The case management conference
                                  28   scheduled for June 2, 2016 is taken off calendar and will be rescheduled at a later date.
                                  1    Defense counsel shall notify the court immediately upon learning of a decision in

                                  2    Escobar.

                                  3          IT IS SO ORDERED.

                                  4    Dated: June 1, 2016.

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                                                                                  PHYLLIS J. HAMILTON
                                  7                                               United States District Judge
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Northern District of California
 United States District Court




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